      Case 2:10-md-02179-CJB-DPC Document 12510-1 Filed 03/13/14 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

In re:   Oil Spill by the Oil Rig “Deepwater            :    MDL No. 2179
         Horizon” in the Gulf of Mexico, on April 20,   :
         2010                                                SECTION: J
                                                        :
                                                             JUDGE BARBIER
                                                        :
This Document Relates to: 10-4536                            MAG. JUDGE SHUSHAN
                                                        :
…………………………………………………...


                           CLEAN WATER ACT – PENALTY PHASE

               EXHIBITS IN SUPPORT OF UNITED STATES’ REPLY TO
         BPXP’S OPPOSITION TO MOTION IN LIMINE TO PERMIT RELEVANT
              EVIDENCE CONCERNING BP P.L.C. AND ITS AFFILIATES

Exh. No.        Description

1               BP Annual Report and Form 20-F 2012, at 162-169

2               BP Annual Report and Form 20-F 2011, at 160-163

3               Brenda Pennington BP Affiliate Board of Director Memberships – Spreadsheet

4               State of Delaware Annual Franchise Tax Reports (2010-2013)

5               BP Exploration & Production Inc.'s Initial Disclosures Relating to the Clean
                Water Act Penalty Phase – March 10, 2014
6               Deposition of Anthony Hayward, Volume 2, June 8, 2011, 804:11 – 805:4

7               BP Annual Report and Form 20-F 2010, at 38

8               Agency Fedwire Report for Fedwire (BP America Payment to Coast Guard)

9.              Appellants' Opening Brief, In Re: Deepwater Horizon, Case 12-30230, Document
                00511847730, U.S. Court of Appeals for the 5th Circuit, May 7, 2012

10.             Appellants' Reply Brief, In Re: Deepwater Horizon, In the Supreme Court of
                Texas, No 13-0670, Case No. 12-30230, March 10, 2014
